CERTIORARI to Justice Steel.
The record showed that the judgment in this case was rendered by a justice of the peace against Mary W. Lynch, as administratrix of Joseph I. Lynch, on a judgment note given by the said Joseph I. Lynch in his life time to Nathaniel Tunnell; with authority to any justice of the peace within the State of Delaware to enter judgment before him against the maker.
On this note was endorsed a regular probate by Nathaniel Tunnell, made before the justice on the 27th of November, 1843, that nothing had been paid or delivered towards satisfaction of the same, and that the sum demanded, viz., $7 42, was justly and truly due. Whereupon justice Steel, on the 3d of August, 1844, and after the death of Joseph I.Lynch, entered a judgment against Mary W. Lynch, his administratrix, for the amount of the note. *Page 285 
This was the principal error assigned, that the justice had no power to enter judgment upon the warrant of attorney given by Joseph I. Lynchafter his death; nor did the entry of judgment against hisexecutrix conform to the authority given to enter a judgment againsthim.
And for this reason the court set aside the judgment and proceedings. These authorities must be strictly followed, and the judgments rendered in pursuance of them must be entirely conformable to them. The death of Joseph I. Lynch was a revocation of the power of attorney to confess judgment; and the remedy, after that, was by action upon the note in the usual form against the executrix.
                                                    Judgment reversed.